Case 3:15-cv-03230-PGS-TJB Document 11 Filed 02/29/16 Page 1 of 1 PageID: 38




                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY



   Scott Gebhardt
                Plaintiff                                 Civil Action No.1 5-cv-3230 (PGS)

                        V.
    Credit Collection Services, Inc.
              Defendants.

                                                                 ORDER

       WHEREAS, this matter having come before the Court, and the parties having amicably

resolved the matter and
                       th
                       29
       IT IS on this         day of February, 2016,

       ORDERED that the matter be and hereby is dismissed with prejudice and without costs,

except any party may reopen for good cause shown within sixty days. The court retains

jurisdiction over the agreement to enforce the terms.




                                                        PETER G. SHERIDAN, U.S.D.J.
